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                          IN THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO

 STRATESPHERE LLC, et al.,

         Plaintiffs / Counterclaim Defendants,         Case No. 2:20-cv-2972

 v.
                                                       Judge Michael H. Watson
 KOGNETICS INC, et al.,
                                                       Magistrate Judge Chelsey M. Vascura
         Defendants / Counterclaim Plaintiffs.


      DEFENDANTS/COUNTERCLAIM PLAINTIFFS’ BRIEF IN OPPOSITION TO
       PLAINTIFFS/COUNTERCLAIM DEFENDANTS’ MOTION FOR PARTIAL
                         SUMMARY JUDGMENT
 I.      INTRODUCTION

         There are eleven claims and fifteen counterclaims in this dispute. They all arise out of

 Counterclaim Defendants StrateSphere LLC, Kognetics Holding Company LLC, and Kognetics

 LLC’s (collectively, “StrateSphere”) desire to own the Kognetics Software (the “Software”) and

 attendant licensing deals. This dispute’s resolution, then, is actually very straightforward despite

 the myriad of claims and allegations. The primary issue before the Court is whether the

 fraudulently induced deal precludes StrateSphere’s claims in its Partial Motion for Summary

 Judgment (“Mot.”), including: whether the Software was ever delivered to StrateSphere (it was);

 whether Counterclaim Plaintiffs Kognetics, Inc., Inderpreet Thukral, or Rajeev Vaid improperly

 competed with StrateSphere (they did not); whether StrateSphere met their own obligations

 under the deal documents (they did not); and whether Kognetics owns the current version of the

 Software (it does). If StrateSphere did fraudulently induce Kognetics, StrateSphere’s claims do

 not require any analysis at all.

         There is no genuine dispute of material fact regarding Kognetics’ fraudulent inducement
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 claim. In exchange for a majority interest in the Software, StrateSphere offered a 10%

 ownership stake in StrateSphere LLC to Kognetics. The undisputed evidence shows that in

 July 2018, just one month before the Asset Purchase Agreement’s (“APA”) execution,

 StrateSphere-founder Tariq Farwana directly represented to Kognetics that StrateSphere LLC

 was worth $30 million to $50 million—setting Kognetics’ 10% stake at $3 to $5 million.

 Farwana’s valuation is wholly untethered to reality, and Farwana even admits the valuation is

 pure fiction. That this valuation was fraudulent is bolstered by StrateSphere having repurchased

 a different member’s 3% interest in late-2018 for only $100,000. In that stock repurchase

 transaction, StrateSphere LLC valued itself at a mere $2,821,330—reducing its valuation to

 Kognetics just months earlier by more than $47 million. And this December valuation was after

 StrateSphere had acquired the interest in the Kognetics Software and all of Kognetics’ clients.

 By drastically overstating its own value in July 2018, StrateSphere fraudulently induced

 Kognetics to enter the APA and transfer the highly valuable Software to StrateSphere.

        In its Motion, StrateSphere does not challenge these facts, but instead argues that

 Kognetics’ fraudulent inducement claim is barred as a matter of law by the terms of the APA.

 Therefore, both parties agree that the Court can decide the fraudulent inducement claim as a

 matter of law. And StrateSphere is wrong on the law. The APA does not reference

 StrateSphere’s value anywhere, which is fatal to StrateSphere’s argument that the APA’s merger

 clause bars Kognetics’ claim. Accordingly, the Court can decide as a matter of law that the APA

 was fraudulently induced, and enter summary judgment in Kognetics’ favor on all eleven claims

 in StrateSphere’s Second Amended Complaint, and on six of Kognetics’ counterclaims.1


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        Out of an abundance of caution, Counterclaim Plaintiffs address each claim on which
 StrateSphere seeks summary judgment and demonstrates why the record does not support
 StrateSphere’s allegations. So as not to burden the Court with unnecessary repetition, Kognetics



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 II.    ARGUMENT

        A.      StrateSphere Fraudulently Induced Kognetics into Signing the APA By
                Intentionally Misrepresenting StrateSphere’s Value.

        The Court can find as a matter of law, based on the undisputed record, that StrateSphere

 fraudulently induced Kognetics into signing the APA. StrateSphere makes two arguments in

 support of its motion for summary judgment on Kognetics’ Second Amended Counterclaim

 Count II. First, StrateSphere claims the terms of the APA preclude Kognetics from establishing

 justifiable reliance. Here, StrateSphere gets the law wrong: the APA is silent about value, and so

 the terms of the APA cannot preclude reliance on Farwana’s claim that StrateSphere was worth

 $30 to $50 million, and thus the parol evidence rule does not bar Farwana’s claims.

        Second, StrateSphere argues that Kognetics has not proven that StrateSphere’s $30 to $50

 million valuation was false. Here, StrateSphere ignores Farwana’s own admissions regarding the

 valuation he represented to Kognetics, the purchase price of StrateSphere’s stock just a few

 months after the close of the APA, and StrateSphere’s books and records, which were not shared

 with Kognetics until: (a) Kognetics subpoenaed these records directly from StrateSphere’s

 accountants in late-2021, and (b) the Court ordered StrateSphere to produce financial records in

 December 2021. Thus, the Court should grant summary judgment on Kognetics’ fraudulent

 inducement claim and deny StrateSphere’s motion.

                1.     Kognetics Justifiably Relied on StrateSphere’s Claim that the
                       Company Was Worth $50 Million.

        Under Ohio law, a fraudulent inducement claim requires showing that: (1) the defendant

 made a representation; (2) the representation was material to the transaction; (3) the defendant



 respectfully refers the Court to Counterclaim Plaintiffs’ Motion for Partial Summary Judgment,
 (Doc. 143), which contains a detailed background fact section that supports the arguments
 Counterclaim Plaintiffs make herein.


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 made the representation either knowing it was false or with such utter disregard for the truth or

 falsity that one may infer that it was knowingly false; (4) the defendant intended to mislead the

 plaintiff into relying on the representation; (5) the plaintiff justifiably relied on the defendant’s

 representation; and (6) the plaintiff’s reliance on the defendant’s representation proximately

 cause the plaintiff’s injury. Volbers-Klarich v. Middletown Mgmt., Inc., 125 Ohio St.3d 494,

 501, 2010-Ohio-2057, 929 N.E.3d 434, ¶ 27. Reliance is justifiable when the representation

 “does not appear unreasonable on its face” and “if under the circumstances … there is no

 apparent reason to doubt the veracity of the representation.” Lepera v. Fuson, 83 Ohio App. 3d

 17, 26, 613 N.E.2d 1060, 1065 (Ohio 1992).

                         a.      Kognetics Did Not Disclaim Reliance on Farwana’s Fraudulent
                                 Representations in the APA.

         StrateSphere argues that Kognetics cannot bring a fraudulent inducement claim because

 buried deep in the APA, in the middle of the APA’s merger clause, a single sentence reads:

 “There are no representations, promises, warranties, covenants, or undertakings other than those

 expressly set forth in or provided for in this Agreement or the Related Agreements.” (Mot.

 Ex. 1, (Doc. 140-6) APA at § 11.09). According to StrateSphere, this sentence precludes

 Kognetics from bringing any fraudulent inducement claim as it relates to the APA.

         If StrateSphere’s position were correct, any fraudster could “perpetrate a fraud with

 immunity, if he simply has the foresight to include a merger clause in the agreement. Such, of

 course, is not the law.” Sabo v. Delman, 3 N.Y.2d 155, 161, 143 N.E.2d 906, 909 (1957); see

 also Hodell-Natco Indust., Inc. v. SAP America, Inc., No. 1:08-cv-02755, 2010 WL 6765522,

 at *12 (N.D. Ohio Sept. 2, 2010) (“Fraud cannot be merged”); Walter v. Jones, No. CA 760,

 1982 WL 5547, at *1 (5th Dist. Nov. 9, 1982) (noting it is “well settled in all English speaking

 jurisdictions” that “a party who perpetrates an intentional fraud by spoken word cannot ‘hide



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 behind’ written contract provisions which attempt either to provide that such representations

 don’t exist, or ‘don’t count’ … .”).

        Likewise, under Ohio law, “the presence of a [liability] disclaimer does not necessarily

 shield a defendant from liability or mean that a plaintiff will not be able to determine justifiable

 reliance … . Courts have long held that general disclaimers … do not shield [parties] who

 knowingly make false statements.” Navistar, Inc. v. Dutchmaid Logistics, Inc., 2021-Ohio-1425,

 171 N.E.3d 851, ¶ 50 (Ohio 2021) (internal citations omitted). Here, Farwana knowingly made

 false statements regarding StrateSphere’s value to induce Kognetics’ assent to the APA. (See

 infra at 9–11). His tortious actions are not absolved by the general boilerplate liability

 disclaimer in the merger clause.

        Nevertheless, in support of its position, StrateSphere relies on cases that are

 distinguishable here. Those cases involved explicit disclaimers of the particular representations

 that form the basis of the fraudulent inducement claims—very different from the very general

 disclaimer in the APA. Take, for example, Axios, Inc v. Thinkware, Inc., Case No. 1:15-CV-379,

 2015 WL 5029227 (S.D. Ohio Aug. 26, 2015). There, the fraudulent inducement claim was

 based on alleged misrepresentations that the software at issue was suitable for the plaintiff’s

 needs. Id. at *6. The software license, however, contained an explicit disclaimer that

 specifically required the plaintiff to ensure the software would function properly and explicitly

 nullified particular prior assurances:

        It is the intent and agreement of [defendant] and Customer that Customer make its
        own independent determination, prior to the execution of this Agreement, of the
        ability of the Software to meet the needs and intended uses by the Customer.
        Customer acknowledges and represents that prior to the execution of this
        Agreement, Customer has had the opportunity to review the Software and has
        independently determined that the Software satisfies the Customer’s needs
        and intended uses. [Defendant] makes no warranties nor representations that the
        Software will satisfy the Customer’s needs and intended uses, and any prior



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         communications or correspondence by [defendant] or any of its agents, employees,
         consultants [sic] that the Software will satisfy the Customer’s needs and intended
         uses are null and void.

 Id. (emphasis in original). The Court held that, because the alleged fraud was “directly

 contradicted” by a signed writing, no fraud claim on that specific basis could go forward. Id.

 Notably, here, there is no contract language that states “the value of StrateSphere is $30-$50

 million, and Kognetics has had an opportunity to evaluate StrateSphere’s financial records.”

 Thus, Axios is inapplicable.

         Similarly, in Rodgers v. Sipes, 2012-Ohio-3070 (3rd Dist. App. 2012), a real estate

 contract explicitly stated that the purchaser bought the property “in its present physical condition

 after examination and inspection by Purchaser” and that the purchaser was “relying solely upon

 such examination and inspection” regarding the property’s condition. Id. at ¶ 30. The Court

 held that this explicit and specific language regarding the condition of the house precluded a

 fraud claim that relied on the separate, prior representations about the condition of the property.

 Id. at ¶ 40.

         The same is true for Goodyear Tire & Rubber Co. v. Chiles Power Supply, Inc.,

 7 F. Supp.2d 954 (N.D. Ohio 1998). There, the buyer argued Goodyear had induced it into the

 contract through fraudulent representations about the quality and performance of the product.

 The contract included a limited liability disclaimer, and “[s]ignificantly, it also disclaimed

 reliance when it declared that ‘[n]o representative has authority to make any representation,

 promise, or agreement, except as stated herein.” Id. at 963. The Court found that such a specific

 reliance disclaimer meant that the buyer “had fair warning as to the reliability of any

 representation external to the terms.” Id.




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        No such specificity exists here. As StrateSphere itself emphasizes, the APA “does not

 contain any representation regarding the ‘value’ of StrateSphere.” (Mot. at 17). Thus, there is

 no express writing that specifically contradicts the fraud at issue here: namely, the value of

 StrateSphere. Likewise, there is no specific reliance disclaimer regarding the subject of value

 either. Accordingly, the disclaimer at APA § 11.09 does not bar Kognetics’ fraudulent

 inducement claim against StrateSphere. See Navistar, 171 N.E.3d at 20–21 (finding general

 disclaimer did not immunize deliberate misrepresentations where the misrepresentations were

 not reflected in any written agreement between the parties).

                        b.      The Parol Evidence Rule Does Not Bar Kognetics’ Fraudulent
                                Inducement Claim.

        In a related argument, StrateSphere asserts Kognetics’ fraudulent inducement claim is

 barred by the parol evidence rule. (Mot. at 18, n. 23). The Ohio Supreme Court has ruled, “the

 parol evidence rule does not prohibit a party from introducing parol or extrinsic evidence for the

 purpose of proving fraudulent inducement,” and, “the presence of an integration provision does

 not vitiate the principle that parol evidence is admissible to prove fraud.” Galmish v. Cicchini,

 2000-Ohio-7, 90 Ohio St. 3d 22, 28, 734 N.E.2d 782, 789–90 (Ohio 2000). While it is true that

 the parol evidence rule may bar some fraudulent inducement claims, that principle only applies

 where the inducement is directly contradicted in an integrated writing. See Raze Int’l, Inc. v. SE

 Equip. Co., 2016-Ohio-5700, 69 N.E.3d 1274, 1284, ¶ 29 (7th Dist. Ct. App. 2016) (finding

 parol evidence rule did not bar fraudulent inducement claim where representations were not

 specifically disclaimed in written agreement).

        Here, Kognetics does not rely on any evidence that contradicts the APA. Instead,

 independent of the terms of the APA, Kognetics introduces undisputed evidence of

 StrateSphere’s false representations to Kognetics that StrateSphere was worth $30 to



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 $50 million. StrateSphere’s patently false representations came to light during discovery, and

 only after Kognetics subpoenaed StrateSphere’s accounting records and discovered there was no

 way StrateSphere was ever worth $30 million, let alone $50 million. Farwana has since admitted

 as much. See infra at 9–11. As StrateSphere acknowledges, there is no provision in the APA

 that discusses the company’s value or makes any specific representation regarding that value.

 Accordingly, Farwana’s statements that StrateSphere was worth $30 to $50 million—the basis

 for the fraudulent inducement claim—are not barred by the parol evidence rule.

        Raze International is instructive. There, the executed contract stood silent as to the

 specific issue of warranty. 69 N.E.3d at 18. The plaintiff argued that the defendant had made

 oral representations that it would warrant the product sold. These representations were not

 barred by the parol evidence rule, even though there was a written contract, because the written

 contract did not contain specific terms regarding warranties. Id. So too here—the APA is silent

 about value. As such, the parol evidence rule does not bar StrateSphere false representations

 regarding value.

                        c.     StrateSphere’s Argument that Thukral and Vaid “Had All the
                               Tools Necessary to Value StrateSphere” Assumes Facts Not In
                               Evidence.

        StrateSphere makes the throwaway argument that Kognetics’ claim that they justifiably

 relied on a valuation of StrateSphere is “patently absurd” because they had “all the tools

 necessary to value StrateSphere” “at their fingertips.” (Mot. at 18). It is true that Thukral and

 Vaid have experience valuing companies. (Id.). It is not true, however, that the Software had the

 ability to make business valuations. And nothing in the deposition testimony that StrateSphere

 cites to indicates as much. (See 30(b)(6) Dep. of I. Thukral (Doc. 99-4) at 52–55, Feb. 7, 2022,

 “30(b)(6) Thukral Dep.” (describing that the Software’s database generally can contain




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 information regarding a company’s financials, funding, location, executive team, and how that

 information is uploaded into the Software’s database)). Nor is there evidence that the Software

 contained StrateSphere’s financials, or that Thukral and Vaid had the information necessary to

 make a valuation of StrateSphere. So, while Thukral and Vaid may have had the knowhow to

 value companies, they lacked StrateSphere’s financial information necessary to determine its

 value.

          Indeed, the record is clear that Kognetics had no access to any of StrateSphere’s financial

 information until Kognetics subpoenaed StrateSphere’s accountant in late-2021. Kognetics even

 brought a claim against StrateSphere for violating Ohio Rev. Code § 1705.22(A)(1) for failing to

 provide information regarding the status of the business and financial condition of the company.

 (Kognetics’ Second Am. Countercl., Count X).2 This, of course, reflects Farwana’s pattern and

 practice of withholding StrateSphere’s financial information from partners. (Dep. of A. Saxena

 at 19:10–20:19). StrateSphere admits that its books and records were only provided through

 discovery. (Mot. at 27). Without that key information, Kognetics lacked the ability to value

 StrateSphere. Instead, Kognetics had to rely on Farwana’s word—and that reliance was

 justifiable under the circumstances. (See Mot. for Partial Summ. J. at 16–18 (Doc. 143)).

                 2.      Farwana Has Admitted That StrateSphere Was Not Worth
                         $30 To 50 Million.

          StrateSphere argues that Kognetics “makes no effort” to prove that StrateSphere was

 worth less than $30 to $50 million. (Mot. at 18). This argument ignores Farwana’s testimony,


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         StrateSphere moves for summary judgment on this counterclaim, arguing that the claim is
 moot. It is true that the Court did order StrateSphere to respond to Kognetics’ information
 request in December 2021, and that StrateSphere did produce documents in response. However,
 Kognetics remains a member of StrateSphere, LLC and KLLC, and the threat of StrateSphere
 again withholding documents remains. As such, the claim is not yet moot as it is capable of
 repetition. Accordingly, the motion must be denied.


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  the purchase price of StrateSphere’s stock just a few months after the close of the APA, and

  StrateSphere’s books and records.

         By StrateSphere’s own admission, the $30 to $50 million valuation was not based on

  StrateSphere’s revenue, EBITDA, or comparable businesses. (30(b)(6) Farwana Dep. at 96:10–

  97:2). And Farwana testified that even he does not take the $30 to $50 million valuation of

  StrateSphere seriously, as he values his family’s majority stake in StrateSphere at “a million

  dollars, $2 million.” (Id. at 112:6–15). By Farwana’s own testimony, then, StrateSphere’s total

  value was significantly lower than his $30 to 50 million representation to Kognetics in July 2018.

         Further, as learned in discovery, in December 2018, StrateSphere entered into a separate,

  subsequent share repurchase in which Farwana represented that StrateSphere’s value ranged

  from $1,410,556 to $2,821,330. (Mot. for Partial Summ. J., Ex. F (Doc. 143-6), T. Farwana

  Email to A. Saxena). Specifically, when former employee Atul Saxena sought to sell his

  3.5447% interest in StrateSphere back to the company, Farwana—without Kognetics’ input—

  told Saxena, “Based on the company’s liquidity and risks associated with recent events in KSA,

  we are prepared to offer you $50,000 to $100,000 for your shares in StrateSphere.” (Id.). This is

  far below the purported $30 to $50 million valuation StrateSphere claimed in July 2018.

         Finally, as for StrateSphere’s argument that StrateSphere was in fact worth $30 to $50

  million, that argument is belied by StrateSphere’s own books and records. Without citing any

  authority, StrateSphere argues that it was worth $32 million in 2018 by multiplying

  StrateSphere’s 2018 “revenue” by six, and then adding the estimated value of the Kognetics

  business to that revenue. (Mot. at 19).3 This entire argument should be disregarded by the Court


  3
         “Revenue” is not even the correct metric. Business valuations are done, in part, by
  multiplying EBITDA (earnings before interest, taxes, depreciation, and amortization) by an
  industry-specific multiplier—not “revenue.” This is because a revenue amount, without



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  as unreliable, inadmissible conjecture that cannot support a summary judgment motion. For one,

  StrateSphere’s reference to FactSet’s proposed purchase price for the Kognetics business in

  2019—one year after the APA was executed—is wholly irrelevant to StrateSphere’s value in the

  summer of 2018. For another, even if StrateSphere’s novel business valuation method was

  reliable and admissible, it still fails to show that StrateSphere was $30 to$50 million in 2018.

  That is, by StrateSphere’s own calculations, StrateSphere was worth $20.4 million based on its

  revenue. Id. To make up the nearly $12-million difference, StrateSphere adds the value of the

  Software—the asset purchased. Id. Yet, on the balance sheet, the Software was valued at $5.193

  million in 2018, not $12 million. (Ex. A, KHC Balance Sheet as of Dec. 31, 2018.) Thus, even

  relying on StrateSphere business valuation methodology that has no legal or logical support,

  StrateSphere was worth, at most, $25.5 million, below the $30 –million promise and well below

  the $50 million value that StrateSphere claimed to be worth.4

         Because StrateSphere’s valuation lacks any merit, there is no genuine dispute that

  StrateSphere was never worth $30 to $50 million. Accordingly, that representation was false.

  Therefore, not only should StrateSphere’s motion for summary judgment on Kognetics’

  fraudulent inducement claim be denied, judgment on this claim should be entered in Kognetics’

  favor as a matter of law.5




  factoring in expenses to generate the revenue is meaningless because expenses that exceed
  revenue put earnings at zero.
  4
          It is worthwhile noting that StrateSphere is not the owner of the Software—KHC is. This
  is yet another flaw in StrateSphere’s already baseless method of business valuation.
  5
          StrateSphere moves for summary judgment on Kognetics’ pre-APA copyright
  infringement claim by asserting that Kognetics cannot maintain its fraudulent inducement claim
  against StrateSphere. Because fraudulent inducement can be decided by the Court as a matter of
  law, the Court must deny StrateSphere’s motion for summary judgment as it relates to
  Kognetics’ Second Amended Counterclaim Count VI.


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         Because Kognetics’ fraudulent inducement claim is dispositive of all claims arising out of

  and relating to the APA, the Court need not consider the balance of StrateSphere’s Motion, all of

  which arises from obligations and duties set forth in the APA. Out of an abundance of caution,

  however, Kognetics addresses StrateSphere’s remaining arguments.

         B.      Kognetics, Thukral, and Vaid Complied With All Their Contractual
                 Obligations While StrateSphere Committed the First Breach of the APA.

         StrateSphere seeks summary judgment on Counts I and III of its Second Amended

  Complaint and on Count I of Kognetics’ Second Amended Counterclaims, which all relate to

  alleged breaches of the APA. Given that StrateSphere fraudulently induced Kognetics into

  signing the APA, it cannot sustain any breach of contract claim against Kognetics. Even without

  the fraud, however, StrateSphere is still not entitled to summary judgment because StrateSphere

  committed the first breach of the APA, and because Kognetics performed each of its obligations

  under the APA.

                 1.      StrateSphere Breached the APA First By Failing to Make Timely
                         Capital Contributions, Failing to Raise Any Money for the Software,
                         And Failing to Make A Single Royalty Payment, Even Though
                         Kognetics Performed All of Its Obligations Under the APA.

         StrateSphere argues it is excused from each and every one of its obligations under the

  APA because, according to StrateSphere, Kognetics was in breach of the APA “on day one.”

  (Mot. at 21). The record does not support StrateSphere’s argument, which highlights

  StrateSphere’s fundamental misunderstanding of the structure of the entire deal. That is,

  StrateSphere’s argument is premised on the idea that the Software, its source code, and related

  documentation were not delivered to StrateSphere at closing, but rather kept by Thukral and

  Vaid for Kognetics. But the Software, the source code, the documentation, and all other listed

  assets were delivered to StrateSphere at closing. It is undisputed that the day the deal closed,




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  Thukral and Vaid became StrateSphere executives tasked with managing the Software business.

  Thus, by and through Thukral and Vaid—StrateSphere executives—StrateSphere gained

  possession of all those things.

         Farwana testified that the “whole design” of the APA involved “relying on two

  executives [Thukral and Vaid] that are StrateSphere executives who are paid to . . . build the

  Kognetics capabilities and continue to scale it.” (Farwana 30(b)(6) Dep. at 54:12–20). He

  elaborated that StrateSphere hired Thukral and Vaid “to man an asset that [StrateSphere]

  purchased” from Thukral and Vaid. (Id. at 65:8–66:1). Thus, according to StrateSphere, “their

  payment, essentially, [was] part of the deal.” (Id. at 54:16–17). And until StrateSphere

  terminated Thukral and Vaid in April 2020, they directed all work related to the Software. (Id.

  at 72:3–15). It is no wonder, then, that without the Software business to manage, “there was no

  reason … to have Inder and Rajeev in StrateSphere.” (Id. at 54:15–16).

         Under Thukral and Vaid’s direction and supervision, at closing, Kognetics conveyed to

  StrateSphere a Bill of Sale transferring all defined assets from Kognetics to the StrateSphere

  companies. (Mot. Ex. 1, (Doc. 140-6) APA at 66–69). Thus, all of the assets listed in the APA

  Schedule 1.01(c) were included in the Software in August 2018. (Thukral 30(b)(6) Dep. at

  106:21–24). In doing so, Kognetics gave StrateSphere possession, custody, and control of the

  Software—a right that StrateSphere demonstrated conclusively when it exercised in April 2020

  the power to unilaterally shut down the Software, including customer access to the Software.

  (Mot. for Partial Summ. J., Ex. B, (Doc. 143-2) Vaid Decl. ¶¶ 17, 25, 27). In fact, at closing in

  August 2018, Kognetics set up a password repository for all components of the Software that

  contained the keys to the kingdom, so to speak, and gave access to that repository to whomever

  asked at StrateSphere. (Thukral 30(b)(6) Dep. 128:14–129:15). Monthly subscription revenue




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  for the Software was booked in KLLC’s account. (Vaid Decl. at ¶ 18). And, under Thukral and

  Vaid’s supervision as StrateSphere executives, Kognetics continued to maintain and update the

  Software, as well as perform additional tasks for StrateSphere as required under the MSA. (Id.

  at ¶¶ 18–20).

         In contrast, StrateSphere did not perform its own obligations under the APA. Throughout

  2018 and 2019, StrateSphere repeatedly underpaid the promised capital contributions, and failed

  to raise any equity or debt capital as contractually obligated. (Vaid Decl. at ¶ 22).

  StrateSphere’s failure is captured in an email Caiazza sent to Farwana, telling Farwana that

  StrateSphere owes $296,111 to Kognetics to be in compliance with the APA and Master Services

  Agreement. (Mot. for Partial Summ. J., Ex. J, (Doc. 143-10) Email from D. Caiazza to

  T. Farwana), Dec. 31, 2018.) StrateSphere’s debt to Kognetics has only grown since.

         Likewise, StrateSphere failed to make the required royalty payments to Kognetics, which,

  to date, total $300,000 in missed payments. (Mot. for Partial Summ. J., Ex. A, (Doc No. 143-1),

  Thukral Decl. at ¶ 21). StrateSphere’s own financial documents prepared in late-2019 and early-

  2020 acknowledge these debts to Kognetics. Specifically, KHC’s October 31, 2019 Balance

  Sheet shows a royalty obligation to Kognetics of $400,000. (See Mot. for Partial Summ. J.,

  Ex. K, (Doc. 143-11) KHC Balance Sheet as of Oct. 31, 2019). By October 31, 2019, that

  liability should have been reduced by $100,000, if the royalties had been paid, but it was not.

  Further, in a document signed by Farwana, the StrateSphere Companies agreed that Kognetics,

  Inc. was owed “$100,000 for Royalty Year 2019 and $50,000 as of January 31, 2020.” (Mot. for

  Partial Summ. J., Ex. L, (Doc. 143-12) Omnibus Restructuring Agreement). StrateSphere only

  claimed to have made royalty payments after Thukral and Vaid rejected the Omnibus

  Restructuring Agreement in March 2020. The payments StrateSphere now claims as royalty




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  payments were not made from KHC, as required by the APA, nor were they made on the dates

  required by the APA (January 31 and July 31, annually). The evidence shows that StrateSphere

  has simply after-the-fact identified two $50,000 payments made to Kognetics under the MSA

  and now claims those are royalty payments in an attempt to avoid liability under the APA and

  push off early APA breaches. The Court should reject that attempt.

                 2.     Even After StrateSphere Breached the APA (and the MSA),
                        Kognetics Completed a Knowledge Transfer to StrateSphere
                        Providing All Code, Documentation, and Know-How Regarding the
                        Software.

         Next, StrateSphere argues that Kognetics breached the APA by failing to deliver a fully

  functioning version of the Software. (Mot. at 11). This assertion is not supported by the

  evidence. Not only did StrateSphere receive possession, custody, and control of the fully

  functioning Software closing in 2018, a year later, in the Autumn of 2019, StrateSphere

  instructed Kognetics to begin training new StrateSphere employees on how to operate and update

  the Software. (Thukral 30(b)(6) Dep. at 130:1–136:24). Kognetics provided this training even

  though StrateSphere was in breach of the APA and the MSA, meaning Kognetics actually owned

  the version of the Software that was in operation in 2019, not StrateSphere. (Mot. for Partial

  Summ. J. at 21–23 (Doc. 143)).

         In training StrateSphere on the Software, Kognetics shared with the new StrateSphere

  employees full access to the repositories where all source code for the Software was stored, a

  description of each element of the Software, details about whether those elements were compiled

  automatically or entered into the Software’s database manually, a link to the specific source code

  for each element of the Software, and a diagram that demonstrated the full development process

  for the Software. (Dep. of Hetal Shah, Vol. II, 113:2–115:11, 116:20–117:4, 123:3–14). Thus,

  StrateSphere cannot genuinely dispute that Kognetics delivered to it a fully functioning version



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  of the Software. In reality, the reason why StrateSphere’s version of the Software is not “fully

  functioning” is because StrateSphere unilaterally shut down the Software and cut off Kognetics

  in April 2020, thus eliminating its own capabilities to manually generate, curate, and input the

  signals and momentum data. (Dep. of B. Warnick, Mar. 15, 2022 at 90:19–91:4, 94:11–105:18;

  see also Exhibit B, Email from H. Shah to A. Singh, et al., Dec. 6, 2019). In essence,

  StrateSphere cut off its nose to spite its own face.

         In sum, StrateSphere is not entitled to summary judgment in its favor on Counts I and III

  of its Second Amended Complaint, nor is StrateSphere entitled to summary judgment in its favor

  on Count I of Kognetics’ Second Amended Counterclaims, because StrateSphere committed the

  first material breach of the APA, and because Kognetics complied with all of its obligations—

  and then some—under the APA.

         C.      Kognetics, Thukral, and Vaid Did Not Compete with StrateSphere in
                 Violation of the APA, the Employment Agreements, or the Operating
                 Agreement.

         StrateSphere alleges Kognetics, Thukral, and Vaid breached the APA, their Employment

  Agreements and the KLLC Operating Agreement by improperly competing. StrateSphere made

  these same arguments before in its Motion to Extend Preliminary Injunction and Motion for

  Show Cause, both of which the Court rejected as meritless, and thus refused to extend the

  preliminary injunction and mooted the show cause motion. In the context of summary judgment,

  again, Kognetics’ fraudulent inducement claim resolves each of these alleged breaches in

  Kognetics’ favor as a matter of law, and the Court need not wade into the meritless allegations

  posed by StrateSphere. Nothing has changed. If the Court were to review the record again, the

  Court would still find that there has been no improper competition.




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         StrateSphere alleges that Kognetics, Thukral, and Vaid engaged in improper competition

  between 2018 and April 2020 by using marketing material and the Kognetics name to “sell the

  Software on behalf of Boston Analytics” by negotiating employment contracts with FactSet—a

  potential acquirer of the Software. (Mot. at 10–11). StrateSphere alleges Kognetics, Thukral,

  and Vaid engaged in improper competition after April 2020, by directly servicing clients and

  requesting direct compensation for a period of a few weeks in April 2020, soliciting

  StrateSphere’s customers, and marketing and providing “the same services to customers that

  KLLC had provided through the Software.” (Id. at 12–13).

         StrateSphere’s claims ignore a key fact at the heart of the deal between StrateSphere and

  Kognetics: that Vaid and Thukral were employed as StrateSphere executives tasked with

  managing the Software and its attendant business from August 2018 to April 2020. (See supra

  at 12–13). To put it simply, it was their job to market the Software to drive subscriptions and to

  raise funds for the Software. Therefore, StrateSphere’s claim that Kognetics, Thukral, or Vaid

  were improperly competing by marketing the Software to drive subscriptions (i.e., revenue) for

  the Software (which was paid to KLLC), is, quite simply, nonsensical. Similarly, StrateSphere’s

  claim that Thukral and Vaid engaged in self-dealing when they explored potential employment

  options with FactSet had that acquisition gone through also overlooks StrateSphere’s testimony

  that, without the Software business to manage, “there was no reason … to have Inder and Rajeev

  in StrateSphere.” (Farwana 30(b)(6) Dep. at 54:15–16). Of course Thukral and Vaid would

  follow the Software. They were the “know how” that needed to be in place to “serve their new

  owner, the asset owner and employer” and such employment would naturally be part of any deal.

  (Id. at 65:8–16).

         Regarding the brief period between April 2020 and the TRO’s entry on May 4, 2020,




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  there was no improper competition. In truth, due to StrateSphere’s actions in 2019, by early-

  2020, Kognetics’ hand was forced: debts were mounting and contractual payments from

  StrateSphere were never coming. To survive, Kognetics was forced to engage in self-help to stay

  afloat and protect the Software (which inured to the sole benefit of KLLC), and so Kognetics

  asked customers for direct payment. (Thukral Decl. Aug. 2021, ¶¶ 26–28 (Doc. 143-1)). Indeed,

  self-help was the only reason why Kognetics reached out to customers regarding the services

  being provided by Kognetics, which was not receiving contractual payments from StrateSphere.

  (Id. at ¶ 28).

          Self-help is not competition. See Black’s Law Dictionary 322 (9th Ed. 2009) (defining

  “competition” as “the struggle for commercial advantage”). Kognetics was not seeking an

  improper commercial advantage against StrateSphere when it asked customers for direct

  payment—it was seeking payment that was not forthcoming from StrateSphere for services

  rendered. Rather than gaining competitive advantage over StrateSphere, Kognetics collected

  money directly from customers for services it had actually provided, which ultimately benefited

  StrateSphere. (Thukral Decl., ¶ 28). If Kognetics could not pay the vendors or employees who

  were servicing StrateSphere’s customers, then those vendors or employees would stop working,

  service would suffer, and consequently StrateSphere would suffer. (Id. ¶ 27.) Unlike

  StrateSphere, all of Kognetics’ actions were in the best interest of the joint business (KLLC), and

  to preserve the Software’s reputation.

          After May 2020, when the Court issued a stipulated injunction, Boston Analytics did not

  sell software, subscriptions to software, or any other similar type of subscription service. (Shah

  Dep. Vol. II at 155:4–156:3). Even the former Kognetics/Boston Analytics consultants who

  defected to StrateSphere both stated that the consulting services provided by Boston Analytics




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  was completely different from the Software’s services. (Dep. of A. Malaviya at 45:2–14,

  Feb. 10, 2022; Dep. of R. Parwan at 25:5–10, Feb. 11, 2022).

         Again, StrateSphere’s arguments regarding Boston Analytics’ consulting company show

  that StrateSphere is totally unknowing regarding both the Software’s functionality and its

  components. The Software “was very targeted on one problem … which is M&A prediction.

  Who can buy who or what are the strategic gaps of the company.” (Shah Dep. Vol. II at 161:9–

  19). To arrive at an answer to that specific question, the Software was made up of data that

  included market maps, identification of potential competitors, information regarding product

  offerings, business locations and descriptions, etc. (Dep. of G. Kshretty, Feb. 21, 2022 at 100–

  102.) And the data that was in the Software was limited to the technology media and

  telecommunications space, or “TMT” space. (Id. at 101:9–13). It is true that Boston Analytics’

  consulting business utilized some of those inputs in consulting engagements—but it did not

  provide the same output—that is M&A prediction. Both cookies and bread use flour and salt as

  ingredients, but their finished products are not the same, nor are they interchangeable. The same

  is true of Boston Analytics’ consulting service as compared to the Software.

         Accordingly, the record clearly establishes that neither Kognetics, Thukral, or Vaid

  engaged in any improper competition. Rather, they operated for the direct benefit of

  StrateSphere, KHC (the entity that owned the Software), KLLC, and StrateSphere’s members—

  of which Farwana was a majority owner. The same cannot be said of Farwana or StrateSphere’s

  conduct. Thus, there is no factual basis to support StrateSphere’s claims, as they are all

  predicated on the theory of improper competition, which lacks merit.




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                 1.     None of the Activities Alleged by StrateSphere and Clarified Above
                        Violated the APA.

         The Non-Competition Clause of the APA reads, in relevant part, as follows:

         For a period equal to three (3) years following the Closing (the “Restricted
         Period”), no Seller nor the Seller Group nor any of their Affiliates shall directly or
         indirectly engage in, own, manage, operate, join, control, as partner, shareholder,
         consultant, manager, agent or otherwise, any individual, corporation, partnership,
         firm, other company, business organization, activity, entity or Person that
         distributes, provides, markets and/or sells one or more Competing Products.

  (Mot. Ex. 1 (Doc. No. 140-6) at § 9.02). “Competing Products” is defined in that same section

  as “any product or service which performs functions similar to or in substitution for the

  Software.” As discussed above, Kognetics, Thukral, and Vaid have never distributed, marketed,

  or sold a “Competing Product.” There was no competition during the period between the APA’s

  closing and April 2020—when Kognetics, Thukral, and Vaid were instead in the business of

  marketing and selling the Software itself—to the benefit of StrateSphere. And there was no

  competition during the period between April 2020 and the expiration of the APA’s non-

  competition clause in August 2021 because no “Competing Product” was distributed, marketed,

  or sold. Accordingly, Kognetics is entitled to summary judgment on Counts I and III in

  StrateSphere’s Second Amended Complaint.

                 2.     None of the Activities Alleged by StrateSphere and Clarified Above
                        Violated the Employment Agreements.

         Like the APA, the Employment Agreements of Thukral and Vaid prevent Thukral and

  Vaid from associating with an organization that “distributes, provides, markets and/or sells one

  or more Competing Products” for a period of two years following the termination of their

  employment. (Employment Agreement at ¶ 10(5)). Again, neither Thukral nor Vaid associated

  with an organization that distributed, provided, marketed, or sold one or more Competing




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  Products during the two years after StrateSphere terminated them. As such, Thukral and Vaid

  never breached their respective Employment Agreements.

         Plus, StrateSphere’s failures to fully pay Thukral and Vaid preclude StrateSphere’s

  employment agreement breach claims against Thukral or Vaid. (See Mot. for Partial Summ. J. at

  21). StrateSphere argues that it set Thukral and Vaid’s salary at $10,000 per month for the

  entirety of their employment. Thukral testified, however, that “at a minimum, the agreed salary

  was $15,000” per month in 2020. (Thukral Dep. 46:7-17). Because StrateSphere failed to fully

  pay Thukral and Vaid, StrateSphere committed the first breach and cannot enforce the restrictive

  covenant.

         Accordingly, the Court should enter summary judgment in Thukral and Vaid’s favor on

  StrateSphere’s Second Amended Complaint’s Counts IV and V and on Thukral and Vaid’s

  Counterclaims I and II.

                 3.     None of the Activities Alleged by StrateSphere and Clarified Above
                        Violated the KLLC Operating Agreement.

         StrateSphere is not entitled to summary judgment on its claims that relate to the

  Kognetics LLC Operating Agreement (Counts II and IX of the Second Amended Complaint).

  The Operating Agreement restricts Kognetics, Inc. to holding the Class B Units in KLLC,

  holding the Class A memberships in StrateSphere LLC, and employing coders or developers

  with connections to the Software or KLLC’s other business activities. (Mot. Ex. 6, Operating

  Agreement at 8.03 (Doc. 140-6)). There is no evidence that Kognetics, Inc. violated this

  provision when it continued to provide customer access to the Software in April 2020. That

  action was explicitly in the interest of the Software and KLLC. Because the action supported the

  activities of KLLC, it is not a violation of the Operating Agreement. As such, summary

  judgment should be entered in favor of Kognetics, Inc. on StrateSphere’s Counts II and IX.



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                 4.      StrateSphere’s Unfair Competition Claim Fails Because There Was
                         No Intent To Deceive In Any of Kognetics, Thukral’s, or Vaid’s
                         Dealings.

         StrateSphere cannot sustain an unfair competition claim against Kognetics, Thukral, or

  Vaid, because none ever intended to deceive StrateSphere. “Unfair competition ordinarily

  consists of representations by one person, for the purpose of deceiving the public, that his goods

  are those of another. … The concept of unfair competition may also extend to unfair commercial

  practices such as malicious litigation, circulation of false rumors, or publication of statements, all

  designed to harm the business of another.” Water Mgmt., Inc. v. Stayanchi, 15 Ohio St.3d 83,

  85, 472 N.E.2d 715 (Ohio 1984). As explained in Kognetics’ Surreply in Opposition to the

  Motion to Extend Preliminary Injunction, the documents StrateSphere cites do not reflect any

  nefarious conduct on the part of Kognetics, Thukral, or Vaid. Primarily, those documents

  evidence ambiguous language choices and some cut-and-paste errors. (Ex. 1 to Mot. for Leave

  to File Surreply, (Doc. No. 75-1) Thukral Decl. ¶¶ 11–13, 16-18, Sept. 3, 2021). Mr. Shah

  admitted as much in his deposition when he stated that Boston Analytics repurposes old

  PowerPoint templates, some of which contained old slides. (Shah Dep. Vol. II at 156:22–12).

  He also clarified that many of those slides contain generic word choices such as “platform,”

  “NLPs,” “algorithms,” “taxonomies,” “signals,” and the like. (Id. at 157:13–158:19). Because

  there was no bad intent, StrateSphere’s motion for summary judgment as to Count VI of its

  Second Amended Complaint must be denied.

         D.      StrateSphere’s Motion for Summary Judgment Regarding Kognetics’
                 Tortious Interference Claim Should Be Denied Because It Misapplies the
                 Law.

         StrateSphere moves for summary judgment on Kognetics’ tortious interference claim

  (Count VII), related to Kognetics’ business relationship with an entity located in India called



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  Pythhos. Pythhos provided services to Kognetics in relation to the Software pursuant to a master

  services agreement. Critically, StrateSphere is not a party to the MSA between Kognetics and

  Pythhos, nor does StrateSphere have any rights under the MSA between Kognetics and Pythhos.

          StrateSphere correctly states, “it is well established than an action for tortious

  interference may only lie against an outside party to the contract or prospective business

  relationship.” Lundeen v. Smith-Hoke, 2015-Ohio-5086, ¶ 42 (10th Dist. 2015). Despite this

  straightforward blackletter law, StrateSphere, relying on dicta, claims that because it is the

  “source of the business relationship” between Kognetics and StrateSphere, Kognetics cannot

  bring a tortious interference claim against it as a matter of law. This is not correct.

          Lundeen cites Pasqualetti v. Kia Motors Am., Inc., 663 F. Supp. 2d 586, 602 (N.D. Ohio

  2009), for the proposition that tortious interference does not exist where the defendant was the

  source of the business opportunity allegedly interfered with. Lundeen, 2015-Ohio-5086, at ¶ 42.

  But the facts in Pasqualetti are readily distinguishable here. In particular, the contract at issue in

  Pasqualetti was a franchise contract, under which the franchisor had the explicit right to assent to

  the contract at issue. 663 F. Supp.2d at 602. Here, StrateSphere had no such right—thus,

  StrateSphere was not the “source of the business opportunity.” Accordingly, Kognetics’ tortious

  interference claim against StrateSphere is not barred as a matter of law, and summary judgment

  in favor of StrateSphere should be denied.

  III.    CONCLUSION

          For the reasons stated herein, StrateSphere’s Motion for Summary Judgment should be

  denied in total.




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  Date: June 6, 2022                      Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on June 6, 2022, the foregoing was electronically

  filed with the Clerk of Court using the CM/ECF system and was served on all counsel of record.




                                                      /s/ Shawn J. Organ
                                                     Attorney for Defendant / Counterclaim
                                                     Plaintiff Kognetics Inc.
